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Attorney for Plaintiff

                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA AT FAIRBANKS

RUSSELL P. BARTLETT,                   )
                                       )
                           Plaintiff,  )
                                       )
v.                                     )
                                       )
LUIS A. NIEVES, in his personal        )
capacity and BRYCE L. WEIGHT,          )
in his personal capacity,              )
                                       )
                           Defendants, )
                                       )
Case No. 4:15-cv-4 SLG

                                FIRST AMENDED COMPLAINT

       Russell P. Bartlett (Bartlett) for his cause of action against the defendants hereby

complains and alleges as follows:

                                 I. GENERAL ALLEGATIONS

       1.       On March 13, 2014, Bartlett was attending the Arctic Man event, specifically a

lawful gathering in the parking lot of said event.

       2.       Bartlett was accompanied by a minor who was attending and observing the

event, but was not drinking any alcohol.

       3.       Bartlett observed the minor come into contact with Bryce L. Weight (Weight)

who was acting in his official capacity as an Alaska State Trooper.




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           4.       In a non-confrontational manner Bartlett advised Weight of his belief that

Weight should not be interviewing the minor without the minor's lawful guardian present.

           5.       Without provocation and without cause Weight proceeded to assault Bartlett

by shoving him in the chest and attacking and arresting him.

           6.       Luis A. Nieves (Nieves), also acting in his capacity as an Alaska State

Trooper, also proceeded to assault and arrest Bartlett for no lawful reason.

           7.       The events related to Bartlett's arrest were witnessed and videotaped by a

news crew1 and the videotape of Bartlett's arrest was subsequently broadcast on the

Anchorage news.

           8.       Nieves and Weight knew that they had no lawful basis to assault and arrest

Bartlett so they drafted up a fabricated police report2 falsely claiming that Bartlett had

placed them in fear of an assault, claiming that Bartlett came at Weight after being shoved

away from him, that Bartlett tried to head butt Nieves and swung his fist at Nieves.

           9.       The above allegations by Weight and Nieves are demonstrably false and

inaccurate.

           10.      The conduct of Nieves and Weight was and is in violation of standard trooper

policy regarding when it is appropriate to initiate physical contact with an alleged defendant.

Nieves and Weight further violated trooper policy by failing to audio record the events at

issue and/or have destroyed the audio tape of the events.

           11.      Nieves and Weight knowingly and intentionally failed to gather and preserve

the evidence documenting their encounter with Bartlett.               Bartlett fortuitously and

coincidentally discovered the video of his encounter with Nieves and Weight when it was

posted on YouTube.

1
    Exhibit A.
2
    Exhibit B.

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          12.    Weight and Nieves pressed false charges against Bartlett3 and Bartlett

incurred costs and attorney fees in defending against those false charges until the charges

were finally dismissed by the District Attorney.4

          13.    The actions of the defendants as described above were not motivated by a

purpose to serve the State but were willful, intentional, reckless, and/or made with gross

negligence and malice against Bartlett and were initially motivated by an effort to "grand

stand" before the TV audience.

          14.    As a result of the defendants actions Bartlett was incarcerated, searched,

subjected to public ridicule, and had to defend himself against false charges, which charges

were ultimately and belatedly dismissed by the District Attorney.

          15.    The actions of the defendants constitute a false arrest and imprisonment of

Bartlett when the defendants knew or should have known that said arrest and incarceration

was absolutely without merit.

          16.    The defendants intended and caused false criminal charges to be filed and

pursued against Bartlett. Said charges have been dismissed because Bartlett was not

guilty of the charges the defendants advanced against him.

          17.    The defendants intentionally assaulted Bartlett without cause or justification.

          18.    The defendants' actions were intended to and did in fact cause Bartlett to be

subjected to false imprisonment.

          19.    The actions of the defendants were initially motivated by their desire to

grandstand before the TV camera and to quash Bartlett's lawful exercise of his right of free

speech. The actions of the defendants were intended to and did cause Bartlett to be cast in

a false light, subjecting him to public disdain and ridicule.

3
    Exhibit C.
4
    Exhibit D.

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       20.     The actions of the defendants were intentional and reckless to the rights of

Bartlett. Further, the actions of the defendants were not intended or designed to in any way

benefit their employer, the State of Alaska, and were malicious and corrupt supporting an

award of punitive damages against the defendants.

                                        COUNT I
                               VIOLATION OF 42 U.S.C. § 1983

       21.     Bartlett repeats all prior allegations as fully set forth herein.

       22.     No reasonable police officer would have believed that the acts undertaken by

the defendants were appropriate under the facts of this case.

       23.     Acting under color of law, the defendants violated Bartlett's federal and state

constitutional rights as referenced above to include his right to be free from unlawful assault

by a police officer, to be free from a malicious criminal prosecution, to not be falsely

incarcerated, unreasonable search and seizure, freedom of speech, equal protection of the

law and his right to due process.

       24.     As a result of the defendants’ actions, Bartlett has suffered damages to

include – mental distress, damage to reputation, attorney fees, loss of freedom and violation

of constitutional rights.

       25.     The defendants’ actions violated 42 U.S.C § 1983

                                        COUNT II
                               VIOLATION OF 42 U.S.C. § 1985

       26.     Bartlett repeats all prior allegations as fully set forth herein.

       27.     The defendants conspired to deprive Bartlett of the due course of justice with

intent to deny him equal protection of the law and/or to injure him for attempting to protect

the lawful/constitutional rights of another.

       28.     The defendants’ actions violated 42 U.S.C § 1985.


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      WHEREFORE Bartlett prays for the following relief:

            1.       For judgment to enter against the defendants, in their personal capacity, in an

amount reasonably believed to be in excess of $100,000 the precise amount to be proven

at trial.

            2.       For an award of actual costs and attorney fees and interest to the fullest

extent allowed under the law.

            3.       For such other and further relief as the court deems fair and equitable under

the circumstances.

            DATED this 30th day of July 2015.

                                                        /s/ Zane D. Wilson
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                                                 Fairbanks, Ak 99701
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                                                 Fax: (907) 452-8154
                                                 Email: zane@alaskalaw.com
                                                 Attorney Bar #9111108


CERTIFICATE OF SERVICE
This is to certify that on this 30th day of
July 2015, a true and correct copy of
the foregoing was served electronically on:

Stephanie Galbraith Moore
Department of Law
Attorney General's Office
1031 West Fourth Avenue, Suite 200
Anchorage, AK 99501

By:       /s/ Zane D. Wilson
CSG, Inc.




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